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                        SECOND AMENDED SETTLEMENT AGREEMENT AND RELEASE

                    This Second Amended Settlement Agreement and Release ("Agreement") is made and
            entered into this 3 rd day of June, 2022, by and among (I) Plaintiff (as defined below), for itself
            and on behalf of the Settlement Class (as defined below), and (2) Defendant (as defined below),
            subj ect to Court approval as required by Rule 23 of the Federal Rules of Civil Procedure. As
            provided herein, Plaintiff, Class Counsel (as defined below), and Defendant hereby stipulate and
            agree that, in consideration of the promises and covenants set forth in thjs Agreement and upon
            entry by the Court of a Final Order and Jud1,JJ11ent, all claims of the Settlement Class against
            Defendant in the action titled ARcare, Inc. v. Cynosure, Inc., No. 16 Civ. I 1547 (D. Mass.) (the
            "Action"), shall be settled and compromised upon the terms and conditions contained herein.

            I.       Recitals

             I.      On July 27, 2016, Plaintiff ARcare, Inc. filed a class action complaint in the United
                     States District Court for the District of Massachusetts, alleging that Cynosure, Inc.
                     violated the Telephone Consumer Protection Act ("TCPA"), 47 U.S.C. § 227 et seq., and
                     regulations promulgated thereunder by the Federal Communications Comm ission
                     ("FCC"), by sending facsim ile advertisements without the prior express invitation or
                     permission of Plaintiff or putative class members or without an opt-out notice contain ing
                     the elements prescribed by the TCPA and FCC regu lations.

            2.       On September 30, 20 16, Cynosure filed its answer to the Complaint, denying liabi lity,
                     denying that the case could be certified as a class action, and asserting twelve affi rmative
                     defenses against the claims of Plaintiff and the putative class.

            3.       On November 8, 2016, the United States Comt of A ppeals for the D.C. Circu it heard
                     argument in Bais Yaakov o_{Spring Valley v. FCC, No. 14-1234, a challenge to the FCC 's
                     authority to promulgate rules governing tihe content of facsimile advertisements sent to
                     recipients who invited or otherwise permitted communications from the sender.

            4.       On November 28, 2016, the Parties pa11icipated iu a full -day mediation led by the Hon.
                     Edward A. Infante (Ret.) of JAMS, at which the parties reached agreement in principle
                     on terms to settle the Action.

            S.       Class Counsel have investigated the fac.ts and law underlying the claim asserted in the
                     Action. Prior to the mediation, Class Counsel requested, and Cynosure produced, data
                     and documents regarding the claims of Settlement Class Members (as that term is defined
                     below). Cynosure also made available for questioning a person with knowledge of the
                     data and documents provided.

            6.       The data and documents indicate that Cynosure sent hundreds of thousands of facsim iles
                     promoting seminars. Plain ti ff alleges that these facs imi les did not fu lly comply with the
                     FCC rules at issue in Bais Yaakov.
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            7.       On January 26, 201 7, the Parties executed a Settlement Agreement and Release lo settle
                     the Action in its entirety subj ect to approval by the Cowi. The same day, Plaintiff
                     ARcare, Inc. filed a Motion for Preliminary Approval of Class Action Settlement and
                     Approva l of the Proposed Notice of Settlement.

            8.       On January 31, 201 7, the Parties appeared for a hearing before the Court on Plaintiff's
                     moti on, and the Court expressed reservations on the record about ruling on the
                     submissions in their present form and granted the Parties leave to file amended
                     submissions on or before March 3, 2017.

            9.       On February 3, 20 17, at Cynosure's request, Kurtzman Carson Consultants mailed
                     notices of the proposed settlement pursuant to the Class Action Fairness Act, 28 U.S.C.
                     § I7 l 5(b) ("CAFA "), 10 the appropriate Federal and State officials.

             10.     On March 3, 2017, the Parties entered into an Amended Settlement Agreement and Release
                     that replaced and superseded the Settlement Agreement and Release that was executed by the
                     Parties on January 26, 20 I 7.

             I I.    On May 20, 202 1, the Parties appeared for a bearing before the Court and the Court
                     expressed reservations on tbe record about certain aspects of the Amended Settlement
                     Agreement and Release.

             12.     The Parties subsequently negotiated this Second Amended Settlement Agreement and
                     Release, which replaces and supersedes the Amended Settlement Agreement and Release
                     that was executed by the Parties on March 3, 20 17 .

             13.     The Parties now agree to settle the Action in its entirety pursuant to the terms set forth in
                     th is Amended Settlement Agreement and Release, without any admission of liabi lity,
                     with respect to all Released Claims (as that term is defined below) of the Settlement
                     Class. The Parties intend th is Agreement to bind Plaintiff, Cynosure, and all Settlement
                     Class Members who do not timely request to be excl uded from the Settlement (as defined
                     below).

                    NOW, THEREFORE, in light of the foregoing, for good and valuable consideration, the
            receipt of which is hereby mutually acknowledged, the Parties agree, subject to approval by the
            Court, as follows.

            n.       Definitions

                   In add ition to the terms defined at various points within this Agreement, the following
            Defined Terms apply throughout this Agreement:

             14.     "Cynosure" means Cynosure, Inc.

             15.     "Claim" means a writt.e n request submitted by a Settlement Class Member to the
                     Settlement Administrator seeking a distribution from the Settlement Fund.



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             16.     "Claimant" means a Settlement Class Member who submi ts a Claim.

             17.     "Claim Deadline" means 90 days after the Notice Dead line.

             18.     "Claim Form" means a form provided by the Settlement Administrator for the purpose of
                     making a Claim.

             19.     "Class Counsel" means:

                     Phi llip A. Bock
                     BOCK, HATCH, L EWIS & OPPENHEIM,        LLC
                     134 N LaSalle St., Suite I 000
                     Chicago, IL 60602

                     Randall K. Pulliam
                     CARNEY, BATES & PULLIAM, PLLC
                     5 19 West 7th Street
                     Little Rock, AR 7220 I

                     Alan L. Cantor
                     SWARTZ & SWARTZ, P .C.
                     10 Marshall Street
                     Boston, MA 02 108

            20.      "Class List" means the list of unique, ten-digit numbers to which Cynosure attempted to
                     seod one or more facsimile transmissions advertising the avai labi lity or quality of
                     property, goods, or services of Cynosure during the Class Period.

            2 1.     "Class Period" means the period from Juily 27, 2012 to Notice Approval and Preliminary
                     Certification.

            22.      "Court" means the United States Distri ct Court for the District of Massachusetts.

            23.      "Defendant'' means Cynosure, Inc.

            24.      "Effecti ve Date" means the fifth business day after which all of the following events have
                     OCCUJTed :


                         a. All Parties, Cynosure's counsel, and Class Counsel have executed this
                            Agreement;

                         b. The Court has entered without material change the Final Approval Order; and

                         c. The time for seeking rehearing or appellate or other review bas expired, and no
                            appeal or petition for rehearing or review has been timely filed; or the Settlement
                            is affirmed on appeal or review without material change, no other appea l or



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                             petition for rehearing or review is pending, and the time period during which
                             further petition for hearing, review, appeal, or certiorari could be taken has finally
                             expired and relief from a fai lure to file same is not available.

                     Notw ithstanding the foregoing, the Effect ive Date shall not be earl ier than 35 days after
                     Final Approval.

                     "Final A pproval" means the date that the Court enters the Final Approval Order. In the
                     event that the Court issues separate orders addressing the matters in Exhibit F, then Final
                     Approva l means the date of the last of such orders.

            26.      " Final Approval Order" means the order and judgment that the Court enters upon Final
                     Approval, which shall be substantially in the fom1 attached hereto as Exhibit F. In the
                     event that the Court issues separate orders addressing the matters constituting Final
                     Approval, then Final Approval Order incl udes all such orders.

            27.      "Notice" means the notices of proposed class action settlement that the Parties wi ll ask
                     the Court to approve for transmission to t he Settlement Class .

            28.      "Notice Approval and Prel iminary Certification" means the date that the Court enters,
                     without material change, an order authorizing Notice and preliminarily ce11ifying the
                     Settlement Class in the form substantially the same as in the attached Exhibit E.

            29.      "Notice Dead line" means 14 days afler Notice Approval and Prelim inary Certification.

            30.      "Notice Program" means the methods provided for in this Agreemen t for giving the
                     Notice and consists of (I) a faxed notice to each number included in the Class List (" Fax
                     Notice"); (2) mailed notice to those individuals or bus inesses associated wi th facsimi le
                     numbers on the Class List to which facsimile notice is unsuccessful afler three attempts,
                     to the extent those addresses can be reasonably determined (" Mai l Notice"); and (3)
                     Long-Forni Notice posted on the Settlement Website. The form of the Fax Notice, Mail
                     Noti ce, and Long-Form Noti ce shall be substantially in the form attached hereto as
                     Exhibits A, B, and C and approved by the Court. The Fax Notice and Mai l Notice shall
                     have the Claim Form, substantially in the form attached hereto as Exhibit D, attached
                     thereto.

            3 l.     "Objection Deadli ne" means 60 days after the Notice Deadline. The Objection Deadline
                     will be specified in the Notice.

            32.      "Opt-Out Deadline" means 60 days afler the Notice Dead line. The Opt-Out Deadline
                     will be specified in the Notice.

            33.      "Parties" means Plainti ff and Cynosure.

            34.      "Plaintiff' means ARcare, Inc.




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            35.      "Released Claims" means all claims to be released as specified in Section XIV hereof.
                     The "Releases" means all of the releases contained in Section XIV hereof.

            36.      "Released Parties" means those persons and entities released as specified in Section XIV
                     hereof.

            37.      "Releasing Parties" means Plaiotiffand all Settlement Class Members who do not timely
                     and properly opt out of the Settlement, and each of their respective predecessors,
                     succe.ssors, assigns, parent corporations, subsidiaries, affiliates, holding companies,
                     divisions, unincorporated business units, joint venturers, partners, insurers, officers,
                     directors, shareholders, managers, employees, agents, servants, representatives, officials,
                     attorneys, associates, trustees, heirs, assigns, and beneficiaries.

            38.      "Settlement" means the settlement into which the Parties have entered to resolve the
                     Action. The tenns of the Settlement are as set fo1th in this Agreement.

            39.      "Settlement Adm inistrator" means Kurtzman Carson Consultants. Class Counsel and
                     Cynosure may, by agreement, substitute a di fferent organization as Settlement
                     Administrator, subject to approval by the Court if the Court has prev iously approved the
                     Settlement. In the absence of agreement, either Class Counsel or Cynosure may move
                     the Court to substitute a different organization as Settlement Administrator, upon a
                     showing that the respons ibilities of Settlement Administrator have not been adequately
                     executed by the incumbent.

            40.      "Settlement Class" means the class defined in Section Ul hereof

            41.      "Settlement Class Member" means any person included in the Settlement Class.

            42.      "Settlement Fund" means the total cash consideration to be made available by Cynosure
                     pursuant to Section TV below, being the sum of $8,500,000.00.

            43.      "Settlement Website" means the website that the Settlement Administrator will establ ish
                     as soon as practicable following Notice Approval and Preliminary Ce11ification, but prior
                     to the commencement of the Notice Program.

            ID.      Cert ification of the Settlement Class

            44.      For settlement purposes only, Plaintiff agrees to ask the Court to certify the following
                     "Settlement Class" under Ru le 23(b)(3) and (e) of the Federal Ru les of Civil Procedure:

                             All persons or entities who were sent one or more facsimile
                             transmissions advertising the avai labi lity or quality ofpropelty,
                             goods, or services of Cynosure from July 27, 2012 through the date
                             of Notice Approval and Preliminary Certification.




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                             Excluded from the Class are all current employees, officers, and
                             directors of Cyoosure, and the judge presiding over this Action and
                             his staff.

            IV.      Settlement Consideration

            45.      T he tota l cash consideration to be made available by Cynosure pursuant to the Settlement
                     shall be $8,500,000.00 to cover cash compensation to the Settlement Class, inclusive of
                     all attorneys' fees and costs, the Service Award (as defined below), and all fees, costs,
                     charges, and expenses of the Settlement Adm inistrator incurred in connection with the
                     administration of the Notice Program as set forth in Section VII hereof and the processing
                     and payment of Claims as set forth in Sections XI and XII hereof.

            46.      Cynosure also agrees that upon entry of the Final A pproval Order, Cynosure shall be
                     enjoined from sending advertising faxes that do not comply w ith the TCPA and any
                     regulatory rulings promulgated by the FCC, for as long as the Act, and/or any such
                     regulation of declaratory ruling is effective.

            V.       Settlement ApproYal

            47.      Upon execution of this Agreement by all Partie,s, Class Counsel shall promptly move the
                     Court for an Order approYing the form and content of Notice and preliminarily certifying
                     the Settlement C lass as defined herein ("Notice Approval and Preliminary Certification
                     Order"). The proposed Notice Approval and Prelim inary Certification Order that w ill be
                     attached to the motion shall be in a form agreed upon by C lass Counsel and Cynosure,
                     and substantially in the fom1 as that attached hereto as Exhibit E. The motion for the
                     Notice Approval and Preliminary Ce11ification shall request that the Court: (I) approve
                     the Notice Program as set forth herein and authorize Notice on the basis that the terms of
                     the Settlement are with in the range of fair, adequate, and reasonable; (2) provisionally
                     certify the Settlement Class pursuant to Federal Ru le of Civi l Procedure 23(b)(3) and (e)
                     for settlement purposes on ly; (3) designatte Plaintiff as the C lass Representative;
                     (4) appoint Class Counsel; (5) approve the procedures set fo11h in Section VIII hereof for
                     Settlement Class Members to exclude themselves from the Settlement Class or to object
                     to the Settlement; and (6) schedule a Fina l Approval hearing for a time and date munially
                     conven ient for the Court, Class Counsel, .and counsel for Cynosure, and no earlier than
                     I 00 days after the motion for Notice App roval and Preli minary Certification.

            48.      Within IO days of tlie filing of the motion for Notice Approval and Preliminary
                     Certification, Cynosure shall serve or cause to be served an amended notice of the
                     proposed Settlement on the appropriate S tate and Federa l officials under 28 U.S.C.
                     § 17 15(b).

            VI.      Settlement Administrator

            49.      The Settlement Administrator shall admin ister various aspects of the Settlement as
                     described in the next paragraphs hereafte1· and perform such other functions as are
                     specified for the Settlement Administrator elsewhere in this Agreement, including, but


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                     not limited to, providing Notice to Settlement Class Members as descri bed in Section
                     VII; establishing and maintaining the Settlement Website; administering the Claims
                     proce.ss; d istributing the Settlement Fund as provided herein; and paying the remainder of
                     any Settlement Fund to Cynosure in the event of a termination of the Settlement pursuant
                     to Section XVU hereof.

            50.      The duties of the Settlement Admioistrator, in addition to other responsibilities that are
                     described in this Agreement, are as follows:

                         a. Obtaio from Cynosure the Class L ist, for the purpose of sendiog the Fax Notice to
                            Settlement Class Members, and to determine addresses and send the Mail Notice
                            if reasonably practicable;

                         b. Establish and maintain a Post Office box for (i) the submission of Claims; and
                            (ii) mailed reque.sts for exclusion from the Settlement Class;

                         c. Establish and maintain the Settlement Website as a means for Settlement Class
                            Members to obtain notice of and infonnation about the Settlement, through and
                            including hyperlinked access to this Agreement, the Long-Form Notice, the
                            Notice Approval and Preliminary Certification Order, and such other documents
                            as Class Counsel and Cynosure agree to post or that the Court orders posted on
                            the website;

                         d. Establish and maintain an automated toll-free telephone line for Settlement Class
                            Members to call with Settlement-related inquiries, and answer the questions of
                            Settlement Class Members who cal I with or otherwise communicate such
                            mqmne.s;

                         e. Establ ish and maintain a toll -free fax num ber for Settlement Class Members to
                            submit Claim Forms;

                         f.   Respond to any mailed inquiries from Settlement Class Members;

                         g. Process all requests for exclusion from the Settlement Class;

                         h. Provide reports on request, and, no later than five days after the Opt-Out and
                            Objection Deadlines, a final report to Class Counsel and Cynosure that
                            summarizes the number of requests for exclusion and objections received during
                            that period, the total number of exclusion requests and obj ections received to date,
                            and other pertinent infonnation;

                         1.   Payment of any taxes pursuant to paragraph 67;

                         J. At Class Counsel's request in advance of the Final Approval Hearing, prepare an
                            affidavit to submit to the Court that identifies each Settlement Class Member who
                            timely and properly requested exclusion from the Settlement Class;




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                         k. Process and transmit distributions to Settlement Class Members from the
                            Settlement Fund;

                         I.   Review, detenn ine the validity of~ and respond to all Claims;

                         m. Provide reports on request and a final report to Class Counsel and Cynosure that
                            summarizes the number of Claims since the prior reporting period, the total
                            number of Claims received to date, the number of any Claims granted and denied
                            since the prior reporting period, the total number of Claims granted and denied to
                            date, and other pertinent information;

                         n. Pay invoices, expenses, and costs upon approval by Class Counsel and Cynosure,
                            as provided in this Agreement; and

                         o. Perfom1 any settlement administration-related function at the instruction of Class
                            Counsel and Cynosure, including, but not limited to, verifying that Settlement
                            Funds have been distributed as required by Section XII hereof.

            5 I.     The documents specified in paragraph S0(c) shall remain on the Settlement Website at
                     least until Fina l Approva l. The URL of th e Settlement Website shall be
                     www.cynosuretcpasettlement.com or such other URL as Class Counsel and Cynosure
                     may subsequently agree upon in writing. The Settlement Website shall not include any
                     advertising, and shall not bear or include the Cynosure logo or Cynosure trademarks.
                     Ownership of the Settlement Website URL shall be transferred to Cynosure within 10
                     days of the date on which operation of the Settlement Website ceases.

            Vil.     Notice to Settlement Class Members

            52.      As soon as Notice Approval and Prel imin ary Certification is granted, Cynosure will
                     provide to the Settlement Administrator tihe Class List. The Settlement Administrator
                     shall then implement the Notice Program provided herein, using the forms of Notice
                     approved by the Couti in the Notice Approval and Prel iminary Certification Order. The
                     Notice shall include, among other information: a description of the material terms of the
                     Settlement; a description of the Settlement Class Members' right to "opt out" or exclude
                     themselves from the Settlement and the Opt-Out Deadli ne; a description of the Settlement
                     Class Members' right to object to the Settlement and the Objection Deadline; the date
                     upon which the Final Approval Hearing is scheduled to occur; a description of the Claims
                     process; and the address of the Settlement Website at which Settlement Class Members
                     may access this Agreement and other related documents and information. Class Counsel
                     and Cynosure shall insert the correct dates and deadli nes in the Notice before the Notice
                     Program commences, based upon those d.ates and deadlines set by the Court in the Notice
                     Approval and Preliminary Certification Order. Notices provided under or as part of the
                     Noti ce Program shall not bear or include the Cynosure logo or trademarks or the return
                     address of Cynosure, or otherwise be styled to appear to originate from Cynosure.




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            53.      Noti ce shall be provided to Settlement Class Members through the Notice Program .
                     Notice shall be provided substantially in a form as that attached hereto as Exhibits A, B,
                     and C.

            54.      After the Settlement Adminjstrator receives the Class List, the Settlement Administrator
                     (1) shall send the Fax Notice by facsimile transmission to the facsimile numbers included
                     in the Class List; (2) attempt two times to re-send the Fax Notice to any facsimi le
                     numbers to wh ich the Fax Notice is initially unsuccessfully sent; and (3) determ ine,
                     through reasonable efforts, the mail addresses associated with facsimi le numbers on the
                     Class List to which the Fax Notice is not successfull y sent after three attempts, and send
                     the Mail Notice to those addresses (together, the "Fax and Mail Notice Program").

            55.      The Fax and Mai l Notice Program shall be completed by the Notice Deadl ine.

            56.      Within 25 days after Notice Approval and Preliminary Certification is granted, the
                     Settlement Administrator shall post the Long-Form Notice on the Settlement Website.

            57.      Within seven days after the date the Settlement Administrator completes the Mai l Notice
                     Program , the Settlement Adm inistrator shall provide Class Counsel and Cynosure an
                     affidav it that confirms that the Notice Program was completed i11 a time ly manner. Class
                     Counsel shall file that affidavit with the Court as an exhibit to or in conjunction with
                     Plaintiff's motion for final approva l of the Settlement.

            58.      All costs of the Notice Program shall be deducted from the Settlement Fund.

            59.      Within the parameters set forth iJ.1 this Section VII, fu11her specific detai ls of the Notice
                     Program shall be subject to the agreement of Class Counsel and Cynosure.

            VIII. Opt Out and Objections

            60.      Exclusion/Opt Out. Any Settlement Clas.s Member may exclude himself or herself from
                     the Amended Settlement Agreement and Release, and from its binding effect, by sending
                     to the Settlement Administrator, postmarked by the Opt-Out Dead line, a written request
                     to opt out or be excluded from the Settlement. The request must include the individual 's
                     name, address, and fax number; a statement that be or she wants to be excluded from tbe
                     Settlement mARcare, Inc. v. Cynosure, Inc., No. 16 Civ. 11547 (D. Mass.); and the
                     individua l's signature. The Settlement Adm inistrator shall provide the Parties with
                     copies of all completed opt-out requests, and Plaintiff shall fi le a list of all who have
                     effectively opted out of the Settlement, consistent with the terms of this Agreement, with
                     the Court no later than 7 days prior to the Final Approval Hearing. (Settlement Class
                     Members included on this list shall be referred to as "Settlement Class Opt-Outs.") Any
                     Settlement Class Member who does not ti mely and va lidly request to opt out shall be
                     bound by the terms of this Agreement.

            6 1.     Objections. Any Settlement Class Member who does not opt out of the Settlement may
                     object to any aspect of the Settlement. Objections must be electronicall y fi led with the
                     Court, or mailed to the Clerk of the Court, with copy to Class Counsel and Cynosure' s
                     counsel. For an obj ection to be considered by the Court, the obj ection must be


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                     electronically filed or mailed first-class postage prepaid and addressed in accordance with
                     the instructions and the postmark date indicated on the envelope must be no later than the
                     Objection Deadline, as specified in the Notice.

            62.      For an objection to be considered by the Court, the objection must also set fo11h:

                         a. The name of the Action (ARcare, Inc. v. Cynosure, Inc. , No . 16 C iv. 11547 (D.
                            Mass.));

                         b. The objector's full name, address, and fax number;

                         c. An explanation of the basis upon which the objector claims to be a Settlement
                            Class Member;

                         d. All grounds for the objection, accompan ied by any legal support for the objection;

                         e. The identity of all counsel who represent the objector, including any former or
                            current counsel who may be entill.ed to compensation for any reason related to the
                            objection;

                         f. Whether the objector intends to appear at the Final Approval Hearing and, if so,
                            the identity of all counsel representing the obj ector who w ill appear at the Final
                            Approval Hearing;

                         g. A list of all other class action settlements to wh ich the objector or their counsel
                            fi led an objection;

                         h. A list of any persons who will be called to testi fy at the Final Approval Hearing in
                            support oftbe objection; and

                         1.   The objector's s ignature (an atton:iey's signature is not sufficient).

            IX.      Final Approval Order and Judgment

            63.      Plaintiffs motion for Notice Approval and Prelim inary Certification will include a
                     request to the Court for a scheduled date on wh ich the Final Approval Hearing wi ll occur.
                     Plainti ff shall file its motion for final approval of the Settlement no later than 7 days prior
                     to the Final Approval Hearing.

            64.      The proposed Final Approval Order is attached hereto as Exhibit F.

            X.       Settlement Fund

            65.      Wi thin 5 days of the fi ling of Plaintiff's motion for Notice Approval and Preliminary
                     Certification, the Settlement Administrator shall provide the Parties an estimated amount
                     of the costs to implement the Notice Program, establish the Settlement Website, estab lish
                     toll-free telephone and fax numbers, and related upfront expenses, and Cynosure shall
                     pay the estimated amount within IO days after the entry of the Notice Approval and



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                     Preliminary Certification Order. Afler the upfront payment of costs, the Settlement
                     Administrator shall bill Cynosure monthly for the reasonable costs of settlement
                     administration. Any amount paid by Cynosure for the upfront payment of costs that was
                     not used will be deducted from the first monthly bill from the Settlement Administrator.

            66.      In exchange for the mutual promises and covenants in this Agreement, including, without
                     limitation, the Releases as set forth in Section XIV hereof and the dismissal of the Action
                     upon Final Approval, within five days of Final Approval, Cynosure shall transfer to the
                     Settlement Administrator the amount of the Settlement Fund less the amount of the
                     settlement administration costs billed to date to be deposited into an interest-bearing
                     account held by an FDIC-insured financial institution (the "Settlement Fund Account").
                     Class Counsel and Cynosure shall agree on the FDIC- insured financial institution at
                     which the account shall be established.

            67.      The monies in the Settlement Fund Account at all times shall be deemed a "qualified
                     settlement fund" within the meaning of United States Treasury Reg. § 1.4688-1. All
                     taxes ( including any estimated taxes, and any interest or penalties relating to them)
                     arising with respect to the income earned by the Settlement Fund Account or otherwise,
                     including any taxes or tax detriments that may be imposed upon Class Counsel,
                     Cynosure, or Cynosure's counsel with respect to income earned by the Settlement Fund
                     Account for any period during which the Settlement Fund Account does not qualify as a
                     "qualified settlement fund" for the purpose of federa l or state income taxes or otherwise
                     (collectively "Taxes"), shall be paid out of the Settlement Fund Account. Plaintiff and
                     Class Counsel, and Cynosure and its counsel, shall have no liability or responsibility for
                     any of the Taxes. The Settlement Fund Account shall indemnify and hold Plaintiff and
                     Class Counsel, and Cynosure and its counsel, harmless for all Taxes (including, without
                     limitation, Taxes payable by reason of any such indemnification).

            68.      The Settlement Fund shall be used for the following purposes:

                         a. Distribution of payments to Claimants whose Claims the Settlement
                            Administrator bas approved pursuant to Section XII hereof;

                         b. Payn1ent of the Court-ordered award of Class Counsel 's attorneys' fees and costs
                            pursuant to Section XV hereof;

                         c. Payn1ent of the Court-ordered Se,·vice Award to Plaintiff pursuant to Section XV
                            hereof;

                         d. Payn1ent of any Taxes pursuant to paragraph 67 bereof, including, without
                            limitation, taxes owed as a result of interest earned on the Settlement Fund
                            Account, in a timely manner, subject to approval by Class Counsel and Cynosure;

                         e. Payn1ent of any costs of settlement administration and the Notice Program; and

                         f.   Payment of additional fees, costs, and expenses not specificall y enumerated in
                              subparagraphs (a) through (e) of this paragraph, consistent with the purposes of
                              this Agreement, subject to approval of Class Counsel and Cynosure.


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            XI.      Claims Process

            69.      Any Settlement Class Member may submit a Claim to the Settlement Administrator
                     seeking a distribution from the Settlement Fund, except any person who has a lready
                     settled with Cynosure and released his or her claims relating to, based upon, resulting
                     from, or arising out of facsimile transmissions advertising the availability or quality of
                     property, goods, or services of Cynosure during the Class Period.

            70.      A Claim may be submitted by filing a request with the Settlement Administrator using a
                     Claim Form in the fonn attached hereto as Exhi bit D. Claimants may submi t any
                     Cynosure faxes they received with their Claim Form. Claims must be submitted by fax or
                     mai l to the Settlement Administrator, or through the Settlement Website, by the Claim
                     Dead line.

            7 1.     The Settlement Administrator shall have final authority to detemune the adequacy and
                     the legitimacy of any C la im. The Settlement Administrator shall have discretion to
                     require a Claimant to submit additional information and documentation to support a
                     Claim. In exercising its discretion under this paragraph, the Settlement Administrator
                     shall take into account the burden imposed by requiring additional infonnation and
                     documentation and other appropriate considerations.

            72.      The Settlement Administrator shall not rej ect any c laim until after consu ltation with Class
                     Counsel and Cynosure. If, after that consultation, the Settlement Adnunistrator rejects
                     the claim, it shall provide written notice to the Claimant, and an opportunity to remedy
                     curable deficiencies, and/or state any grounds for contesting the proposed decision of the
                     Settlement Administrator, within 30 days of the date the Settlement Administrator sends
                     notice of the rejection by mail (whichever is earlier). A Claimant shall on ly receive one
                     30-day period in which to respond to tbe Settlement Administrator's proposed rejection
                     of a Claim. Untimely submission of a Claim is not a curable deficiency within the
                     meaning of this paragraph.

             73.     A Claim (or remedial subm ission) shall be deemed to have been submitted wben posted if
                     received with a postmark date indicated on the envelope if mailed first-class postage
                     prepaid and addressed in accordance with the instructions.

            74.      All Claim Fom1s shall be subject to such anti-fraud procedures and random and/or
                     selective audits as the Settlement Administrator shall adopt in its discretion. The
                     Settlement Administrator shall be responsible for developing an appropriate plan to audit
                     Claim Forms. Class Counsel and Cynosure retain the right to independently audit Claim
                     Forms if they choose to do so.

            75.      Within the parameters set forth in this Section XI, further specifi c details of the Claims
                     process shall be subject to the agreement of Class Counsel and Cynosure. In the event
                     that the Settlement Administrator determines, in its discretion, that any adjustment to the
                     Claims process or deadlines is called for, the Settlement Administrator shall confer with
                     Class Counsel and Cynosure. Changes may be made to the Claims process set forth in
                     this Section XI by agreement between Class Counsel and Cynosure, in order to facil itate



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                     the working of the Claims process or accomplishment of the goals of the Claims process,
                     subj ect to final approval by the Court.

            XII.     Distribution of Settlement Fund

            76.      Within the later of35 days after the Effective Date or 10 days after the resolution of any
                     and all claims under Section XI, the Settlement Administrator shall distribute the
                     Settlement Fund as set forth in this Section XII.

            77.      To determine the distribution of the Settlement Fund, the Settlement Administrator shall
                     first calculate the aggregate amount of Non-Claim Costs, defined to include the
                     following:

                         a. The amount of any Court-awarded attorneys ' fees and costs to Class Counsel;

                         b. The amount of any Court-awarded Service Award to Plaintiff;

                         c. The costs of settlement administration and the Notice Program, including the
                            proj ected costs of the Settlement Administrator completing its duties of
                            distribution of the Settlement Fund Payments and its duties following such
                            distribution;

                         d. The amount of any Taxes to be paid pursuant to paragraph 67; and

                         e. All other costs and/or expenses incurred in connection with the Settlement not
                            specifically enumerated in subsections (a) through (d) of this paragraph that are
                            express ly provided for in this Agreement or have been approved by Class Counsel
                            and Cynosure.

            78.      The Settlement Administrator shall then subtract the Non-Claim Costs from the
                     Settlement Fund, and the remaining amount shall be divided by the number of approved
                     claims. Claimants who submit valid Cynosure faxes they received shall be considered to
                     have submitted one claim per fax.

             79.     The calculations just described shall yie ld the amount of eacb Claimant's Settlement
                     Fund Payment.

            80.      In no event shall Cynosure ever be required to pay more than a total of $8,500,000.00 to
                     the Settlement Class, inclusive of all Settlement Fund Payments, attorneys ' fees and
                     costs, the Service Award, as well as the costs of settlement administration, and the Notice
                     Program.

            8 1.     Settlement Fund Payments will be made by check wi th an appropriate legend to indicate
                     that it is from the Settlement. Checks will be prepared and mailed by the Settlement
                     Admin istrator. Checks shall be valid for 180 days after issuance. The Settlement
                     Administrator wi ll make reasonable efforts to locate the proper address for any intended
                     recipient of Settlement Fund Payments whose check is returned by the Postal Service as
                     undeliverable, and will re-mail it once to the updated address.


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            XIU. Disposition of Residual Funds

            82.      If any funds remain in the Settlement Fund Account after 180 days from the date the
                     Settlement Administrator mai ls the last Settlement Fund Payment, such funds shall be
                     divided by the number of approved claims and disbursed to claimants in a second
                     disbursement in the manner described in paragraph 8 1, provided there are sufficient
                     residual funds in the Settlemen t Fund Account to cover the cost of such a second
                     disbursement.

            83.      It is the parties' intention that the entire Settlement Fund Account wi ll be distributed to
                     valid claimants. Disbursements will continue to occw· until the Settlement Fund Account
                     is fully exhausted or the Cou1t dete1mines that the administrative cost of further
                     disbursements exceeds the amount in the Settlement Fund Account.

            XIV.     Releases

            84.      As of the Effective Date, Plaintiff and each Settlement Class Member, each on behalf of
                     himself or herself or itself and on behalf of his or her or its respective predecessors,
                     successors, assigns, parent corporations, subsidiaries, affiliates, holding compan ies,
                     divisions, unincorporated business units, j oint venturers, partners, insurers, officers,
                     directors, shareholders, managers, employee,s, agents, servants, representatives, officials,
                     attorneys, associates, trnstees, heirs, assigns, and beneficiaries, shall automatically be
                     deemed to have fully and irrevocably released and forever discharged Cynosure and each
                     of its present and former parents, subsidiaries, divisions, affi liates, predecessors,
                     successors and assigns, and the present and former directors, officers, employees, agents,
                     insurers, shareholders, attorneys, advisors, consultants, representatives, pa1tners, joint
                     venturers, independent contractors, wholesalers, resellers, distributors, retailers,
                     predecessors, successors, and assigns of each of them, of and from any and all liabilities,
                     rights, claims, actions, causes of action, demands, damages, penalties, costs, attorneys'
                     fees, losses, and remedies, whether known or unknown, existing or potential, suspected
                     or unsuspected, liquidated or unl iquidated, legal, statutory, or equitable, that resu lt from,
                     arise out of, are based upon , or relate to tlhe conduct, omissions, duti es or matters between
                     July 27, 2012 and Notice Approval and Preliminary Certification that were or could have
                     been alleged in the Action, including, without lim itation, any claims, actions, causes of
                     action, demands, damages, penalties, losses, or remedies, whether based upon federal or
                     state statutes or federal or state common law, relating to, based upon, resulting from, or
                     aris ing out of facsimi le ITansmissions advertising the availability or quality of property,
                     goods, or services of Cynosure during the Class Period.




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            85.      AS OF THE EFFECTTVE DATE, PLAINTIFF AND EACH SETTLEMENT CLASS
                     MEMBER (EXCEPTING SETTLEMENT CLASS OPT-OUTS) SHALL FURTHER
                     AUTOMATICALLY BE DEEMED TO HA VE WAIVED AND RELEASED ANY
                     AND ALL PROVISIONS, RIGHTS, AND BENEFITS CONFERRED BY§ 1542 OF
                     THE CALIFORNIA CIVIL CODE OR S,JMILAR LAWS OF ANY OTHER STATE OR
                     JURISDICTION. SECTION 1542 OF THE CALIFORNIA CIVI L CODE READS: "A
                     GENERAL RELEASE DOES NOT EXT END TO CLAIMS WHICH THE CREDITOR
                     DOES NOT KNOW OR SUSPECT TO EXIST IN HIS OR HER FAVOR AT THE
                     TIME OF EXECUTING THE RELEASE, WHICH IF KNOWN BY HIM OR HER
                     MUST HAVE MATERIALLy AFFECTED ms OR HER SETTLEMENT WITH THE
                     DEBTOR."

            86.      Plaintiff or any Settlement Class Member may hereafter discover facts other than or
                     different from those that he or she or it knows or believes to be true with respect to the
                     subject matter of the c laims released purs.uant to the terms of paragraphs 84 and 85
                     hereof: or the law appl icable to such claims may change. Nonetheless, each of those
                     individuals, excepting Settlement Class Opt-Outs, expressly agrees that, as of the
                     Effective Date, he or she or it shall have a utomatically and irrevocably waived and fully,
                     finally, and forever settled and released any known or unknown, suspected or
                     unsuspected, asserted or unasserted, liquidated or unliquidated, contingent or non-
                     contingent claims with respect to all of the matters described in or subsumed by this
                     paragraph and paragraphs 84 and 85 hereof. Further, each oftbose individuals, excepting
                     Settlement Class Opt-Outs, agrees and acknowledges that he or she shall be bound by this
                     Agreement, including by the releases contained in th.is paragraph and in paragraphs 84
                     and 85 hereof, and that all of their claims in the Action shall be dismissed with prejudice
                     and released, whether or not such claims are concealed or hidden; without regard to
                     subsequent discovery of different or addi tional facts and subsequent changes in the law;
                     and even ifhe or she never receives actual notice oftbe Settlement and/or never receives
                     a distribution of funds from the Settlement.

            XV.      Payment of Attorneys' Fees, Costs, and Service Award

            87.      Cynosure agrees not to oppose Class Counsel's (I) request for attorneys' fees in an
                     amount not to exceed one quarter of the Settlement Fund; and (2) an application for
                     reasonable expenses incurred in the action. Any award of attorneys' fees and costs to
                     Class Counsel shall be payable solely out of the Settlement Fund.

            88.      On the Effective Date, the Settlement Administrator shall pay from the Settlement Fund
                     to Class Counsel all Court-approved attorneys' fees and costs of Class Counsel. In the
                     event that the award of attorneys' fees and costs of Class Counsel is reduced on appeal,
                     the Settlement Administrator shall only pay to Class Counsel from the Settlement Fund
                     the reduced amount of such award, including interest accmed thereon. Class Counsel
                     shall timely furn ish to the Settlement Administrator any required tax information or
                     forms before the payment is made.

            89.      The payment of attorneys ' fees and costs of Class Counsel pursuant to paragraph 88
                     hereof shall be made through a wired deposit by the Settlement Administrator into the


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                     auomey c lient trust account of Bock, Hatch, Lew is & Oppenheim, LLC. After the fees
                     and costs have been deposited into this account, Bock, Hatch, Lewis & Oppenheim, LLC
                     shall be solely responsible for distributing each Class Counsel fim1's allocated share of
                     such fees and costs to that firm.

            90.      Class Counsel will ask the Court to approve a service award of up to $5,000.00 for
                     Plaintiff ("Service Award"). The Service Award is to be paid from the Settlement Fund
                     within three business days of the Effective Date. The Service Award shall be paid to
                     Plaintiff in addition to Plaintiff's Settlement Fund Payment. Plaintiff need not submit a
                     Claim Form to receive a Settlement Fund Payment. Cynosure shall not oppose Class
                     Counsel's request for payment of the Service Award.

            XVI. Termination of Settlement

            91.      This Settlement may be tem1inated by either Class Counsel or Cynosure by serving on
                     counsel for the opposing Party and fi ling with the Court a written notice of termination
                     within 45 days ( or such longer time as may be agreed between Class Counsel and
                     Cynosure) after any of the following occurrences:

                         a. Class Counsel and Cynosure agree to termination;

                         b. the Court rejects, materially modifies, materially amends or changes, or declines
                            to approve the Settlement;

                         c. an appellate court reverses the Final Approval Order, and the Settlement is not
                            reinstated and finally approved without material change by the Court on remand
                            within 270 days of such reversal;

                         d. any court incorporates terms or provisions into, or deletes or strikes terms or
                            provisions from, or modifies, amends, or changes, the Notice Approval and
                            Preliminary Certification Order, Final Approval Order, or the Settlement in a way
                            that Class Counsel or Cynosure reasonably considers material;

                         e. the Effective Date does not occur; or

                         f.   any other ground for term ination provided for elsewhere in this Agreement.

            92.      Cynosure also shall have the right to terminate the Settlement by serving on Class
                     Counsel and fi ling with the Court a notice of termination within 14 days of its receipt
                     from the Settlement Administrator of the final report specified in paragraph S0(h) hereof,
                     if the number of Settlement Class Members who timely request exclusion from the
                     Settlement Class equa ls or exceeds the number specified in the separate letter executed
                     concurrently with this Settlement by Class Counsel and Cynosure. The number shall be
                     confidential except to the Court, who shall upon request be provided with a copy of the
                     letter for in camera review.

            93.      No Party may terminate the Settlement for any reason other than those set forth in
                     paragraphs 9 1 and 92, including without limitation, ( I) the outcome of the United States


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                     Court of Appeals for the D.C. Circuit's decision in Bais Yaakov ofSpring Valley v. FCC,
                     No. 14-1234, and (2) the amount of attorneys' fees awarded to Class Counsel or of any
                     Service Award awarded to Plaintiff.

            XVII. Effect of a Termination

            94.      The grounds upon which this Agreement may be terminated are set forth in paragraphs 91
                     and 92 hereof. In the event of a termination as provided therein, this Agreement shall be
                     considered null and void; all of Cynosure's obligations under the Settlement shall cease
                     to be of any force and effect; the amounts in the Settlement Fund shall be returned to
                     Cynosure in accordance with paragraph 95 hereof; and the Parties shall return to the
                     status quo ante in the Action as if the Parties had not entered into this Agreement. In
                     addition, in the event of such a termination, all of the Parties' respective pre-Settlement
                     claims and defenses will be preserved, including, but not lim ited to, Plaintiffs right to
                     seek class certification and Cynosure's right to oppose class certification.

            95.      In the event ofa tennination as provided in paragraphs 91 and 92 hereof, and after
                     payment of any invoices or other fees or expenses mentioned in this Agreement that have
                     been incurred and are due to be paid from the Settlement Fund, the Settlement
                     Administrator shall return the balance of the Settlement Fund to Cynosure within seven
                     days of termination.

            96.      The Settlement shall become effective on the Effective Date unless earlier terminated in
                     accordance with the provisions of paragraphs 91 and 92 hereof.

            97.      In the event the Settlement is tem1i.nated in accordance with the provisions of paragraphs
                     91 and 92 hereof, any discussions, offers,. or negotiations associated with this Settlement
                     shall not be discoverable or offered into evidence or used in the Action or any other
                     action or proceeding for any purpose, without prejudice to Plaintiffs right to seek class
                     certification, and Cynosure's right to oppose class certification. In such event, all Parties
                     to the Action shall stand in the same position as if this Agreement had not been
                     negotiated, made, or filed with the Court.

            XVIII. No Admission of Liability

            98.      Cynosure disputes the claims alleged in the Action and does not by this Agreement or
                     otherwise admit any liabi lity or wrongdoing of any kind. Cynosure has agreed to enter
                     into th is Agreement to avoid the further expense, inconvenience, and distraction of
                     burdensome and protracted litigation, and to be completely free of any further claims that
                     were asserted or could have been asserted in the Action.

            99.      Class Counsel and Plaintiff believe that the claims asserted in the Action have merit, and
                     they have examined and considered the benefits to be obtained under the proposed
                     Settlement set forth in this Agreement, the risks associated with the continued
                     prosecution of this complex, costly, and time-consuming litigation, the likelihood of
                     certification of a class for litigation purposes, and the likelihood of success on the merits
                     of the Action. Class Counsel and Plaintiff have concluded that the proposed Settlement



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                     set forth in this Agreement is fair, adequate, reasonable, and in the best interests of the
                     Settlement Class Members.

             I 00.   The Parties understand and acknowledge that tbis Agreement consti tutes a compromise
                     and settlement of disputed claims. No action taken by tbe Parties eitber previously or in
                     connection with the negotiations or proceedings co1111ected with this Agreement shall be
                     deemed or constrned to be an admission of the truth or falsity of any claims or defenses
                     heretofore made, or an acknowledgment or admission by any party of any fault, liability,
                     or wrongdoing of any kind whatsoever.

             IO I.   Neither the Settlement, nor any act performed or document executed pursuant to or in
                     furtherance of the Settlement: (a) is or may be deemed to be, or may be used as, an
                     admission of, or evidence ot the validity of any c laim made by Plaintiff or Settlement
                     Class Members, or of any wrongdoing or liabi lity of the Released Parties; or (b) is or may
                     be deemed to be, or may be used as, an admission of, or evidence of, any fault or
                     omission of any of the Released Parties, in the Action or in any proceeding in any court,
                     administrative agency or other tribunal.

             102.    In addition to any other defenses Cynosure may have at law, in equity, or otherwise, to
                     the extent permitted by law, this Agreement may be p leaded as a full and complete
                     defense to, and may be used as the basis for an injunction against, any action, sui t, or
                     other proceed ing that may be iostituted, prosecuted, or attempted in breacb of tbis
                     Agreement or the Releases contaioed herei11.

            XIX.     Miscellaneous Provisions

             103.    Gender and Plurals. As used in this Agreement, the mascul ine, feminine, or neuter
                     gender, and the singu lar or plural number, shall each be deemed to include the others
                     whenever the context so indicates.

             I 04.   Binding Effect. This Agreement shall be bind ing upon, and inure to the benefit of, the
                     successors and assigns of the Releasing Parties and the Released Parties.

             105.    Prior Agreement Superseded. This Agreement supersedes and replaces the Settlement
                     and Agreement and Release executed by the Parties on January 26, 2017.

             I 06.   Cooperation of Parties. The Parties to thiis Agreement agree to cooperate in good faith to
                     prepare and execute all documents, to seek Court approval, defend Court approval, and to
                     do all things reasonably necessary to complete and effectuate the Settlement described in
                     this Agreement.

             107.    Obl igation To Meet And Confer. Before filing any motion in the Court raising a dispute
                     aris ing out of or related to this Agreement, the Parties shall consult witb each other and
                     certify to the Court that they have consulted.

             108.    Integration. This Agreement (along with the letter referenced in paragraph 92 hereof)
                     constitutes a single, integrated written contract expressing the entire agreement of the
                     Parties relative to the subject matter hereof. No covenants, agreements, representations,


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                     or warranties of any kind whatsoever have been made, or rel ied upon, by any Party
                     hereto, except as provided for herein.

             I 09.   No Conflict Intended. Any inconsistency between the headings used in this Agreement
                     and the text of the paragraphs of this Agreement shall be resolved in favor of the text.

             11 0.   Governing Law. The Agreement shall be construed in accordance with, and be governed
                     by, the laws of the Commonwealth of Massachusetts, without regard to the principles
                     thereof regarding choice of law.

             111.    Counterparts . This Agreement may be executed in any number of counterparts, each of
                     which shall be deemed an original, but all of which together shall constitute one and the
                     same instrument, even though all Parties do not s ign the same counterparts. Original
                     signatures are not required. Any signature submitted by facsimile or through e-mai l of an
                     Adobe PDF shall be deemed an original.

             112.    Jurisdiction. The Court shall reta in j urisdiction over the implementation, enforcement,
                     and performance of this Agreement, and shall have exclusive jurisdiction over any suit,
                     action, proceeding or dispute arising out of or relating to this Agreement that cannot be
                     resolved by negotiation and agreement by counsel for the Parties. The Court shall retain
                     j urisdiction with respect to the administration, consummation and enforcement of the
                     Agreement and shall retain j urisd iction for the purpose of enforcing all terms of the
                     Agreement. The Court shall also retain jurisdiction over all questions and/or disputes
                     related to the Notice Program and the Settlement Administrator. As part of its agreement
                     to render services in connection with this Settlement, the Settlement Administrator shall
                     consent to the jurisdiction of the Court for this purpose.

             113.    Notices. All notices to Class Counsel provided for herein, shall be sent by e-mail with a
                     hard copy sent by overnight mai l to:

                     Phill ip A. Bock
                     BOCK, HATCH, LEWIS & Qp1>ENHEIM
                     134 N LaSalle St. , Suite 1000
                     Chicago, IL 60602
                     Tel.: (312) 658-5500
                     Fax: (312) 658-550 I
                     E-mail: phil@bockhatchllc.com

                     Randall K. Pulliam
                     CARNEY, BATES & PULLIAM, PLLC
                     5 I 9 West 7th Street
                     Little Rock, AR 7220 I
                     Tel.: (510) 312-8500
                     E-mail: rpulliam@cbplaw.com

                     Alan L. Cantor
                     SWARTZ & SWARTZ,       P.C.



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                     10 Marshall Street
                     Boston, MA 02108
                     Tel.: (617) 742-1900
                     Fax: (617) 367-7193
                     E-ma il: acantor@swartzlaw.com

                     All notices to Cynosure, provided for herein, shall be sent by e-mail with a hard copy sent
                     by overnight mail to:

                     Sean Flanagan
                     CYNOSURE, INC.
                     5 Carlisle Road
                     Westford, Massachusetts O1886
                     Tel.: (978) 513-4677
                     E-mail: sean.flanagan@cynosure.com

                     Alan E. Schoenfeld
                     WILMER C UTLER P ICKERING HALE AND DORR LLP
                     7 World Trade Center
                     250 Greenwich Street
                     New York, NY 10007
                     Tel.: (212) 230-8800
                     Fax: (212) 230-8888
                     E-mail: alan.schoenfeld@wilmerhale.com

                     John J. Butts
                     WILMER C UTLER PICKERING H ALE AND D ORR LLP
                     60 State Street
                     Boston, MA 02109
                     Tel.: (617) 526-6515
                     Fax: (6 I 7) 526-5000
                     E-ma il: john.butts@wilmerhale.com

                     The notice recipients and addresses designated above may be changed by written notice.
                     Upon the request of any of the Parties, the Parties agree to promptly provide each other
                     with copie.s of objections, requests for exclusion, or other filings received as a result of
                     the Notice Program.

             114.    Modification and Amendment. This Agreement may be amended or modified only by a
                     written instrument signed by counsel for Cynosure and Class Counsel and, if the
                     Settlement has been approved by the Court, such amendment or modification is approved
                     by the Court.

             11 5.   No Waiver. The waiver by any Party of any breach of this Agreement by another Party
                     shall not be deemed or construed as a wai ver of any other breach, whether prior,
                     subsequent, or contemporaneous, of this Agreement.



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116.    Authority. Class Counsel, Plaintiff, counsel for Cynosure, and Cynosure represent and
        warrant that the persons signing this Agreement on their behalf have full power and
        authority to bind every person, partnership, corporation or entity included within the
        definitions of Plaintiff and Cynosure to all tenns of this Agreement. Any person
        executing this Agreement in a representative capacity represents and warrants that he or
        she is fully authorized to do so and to bind the Party on whose behalf he or she signs this
        Agreement to all of the terms and provisions of this Agreement.

117.     Agreement Mutual Iv Prepared. Neither Cynosure nor Plaintiff, nor any of them, shall be
         considered to be the drafter of this Agreement or any of its provisions for the purpose of
         any statute, case law, or rule of interpretation or construction that would or might cause
         any provision to be construed against the drafter of this Agreement.

118.    Independent lnYestigali n and Decision to Settle. The Parties understand and
        acknowledge that they: (a) have performed an independent investigation of the
        allegations of fact and law made in connection with this Action; and (b) that even if they
        may hereafter discover facts in addition to, or different from, those that they now know or
        believe to be true with respect to the subject matter of the Action as reflected in this
        Agreement, that will not affect or in any respect limit the binding nature of this
        Agreement. lt is the Parties' intention to resolve their disputes in connection with this
        Action pursuant to the terms of this Agreement now and thus, in furtherance of their
        intentions, the Agreement shall remain in full force and effect notwithstanding the
        discovery of any additional facts or law, or changes in any substantive or procedural law,
        and this Agreement shall not be subject to rescission or modification by reason of any
        changes or differences in facts or law or changes in any substantive or procedural law,
        subsequently occurring or otherwise.

119.    Rec -ip l f Advice of Coun. cl. Each Party acknowledges, agrees, and specifically
        warrants that he, she, or it has fully read this Agreement and the Releases contained in
        Section XIV hereof, received independent legal advice with respect to the advisability of
        entering into this Agreement and the Releases, and the legal effects of this Agreement
        and the Releases, and fully understands the effect of this Agreement and the Releases.


Dated:   _k       /t-"J~~- - -
          ~ /____,3                             ~~
                                                 Clief i~
                                                Dr. Steven Collier,
                                                ARcare, Inc.
                                                                          Exe        Officer,for


Dated:
                                                Sean Flanagan, VP, Legal,far Cynosure, Inc.




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             116.    Authority. Class Counsel, Plaintiff, counsel f-or Cynosure, and Cynosure represent and
                     warrant that the persons signing this Agreement on their behalf have full power and
                     authority to bind every person, partnership, corporation or entity included within the
                     definitions of Plaintiff and Cynosure to all terms of this Agreement. Any person
                     executing this Agreement in a representative capacity represents and warrants that he or
                     she is fully authorized to do so and to bind the Party on whose behalf he or she signs this
                     Agreement to all of the tenns and provisions of this Agreement.

             11 7.   Agreement Mutually Prepared. Neither Cynosure nor Plaintiff, nor any of them, shall be
                     considered to be the drafter of tbis Agreement or any of its provisions for the purpose of
                     any statute, case law, or rule of interpretation or construction tbat would or might cause
                     any provision to be construed against the drafter of this Agreement.

             118.    Independent Investigation and Decision to Settle. The Parties understand and
                     acknowledge that they: (a) have performed an independent investigation of the
                     allegations of fact and law made in connection with this Action; and (b) that even if they
                     may hereafter discover facts in addition to, or different from, those that they now know or
                     bel ieve to be tme with respect to the subject matter of the Action as refle.cted in th is
                     Agreement, that will not aftect or in any respect lim it the binding nature of this
                     Agreement. It is the Parties' intention to resolve their disputes in connection with this
                     Action pursuant to the terms of this Agreement now and thus, in furtherance of their
                     intentions, the Agreement shall remain in. full forc-e and effect notwithstanding the
                     discovery of any additional facts or law, or changes in any substantive or procedural law,
                     and th is Agreement shall not be subject to rescission or modification by reason of any
                     changes or differences in facts or law or changes in any substantive or procedural law,
                     subsequently occurring or otherwise.

             I 19.   Receipt of Advice of Counsel. Each Party acknowledges, agrees, and specifically
                     warrants that be, she, or it bas fully read this Agreement and the Releases contained in
                     Section XIV hereof, received independent legal advice with re.spec! to the advisability of
                     entering into this Agreement and the Releases, and the lega l effects of this Agreement
                     and the Releases, and fully understands the effect of this Agreement and the Releases.


              Dated:
                       -------------                         Dr. Steven Collier, Chief Executive Officer,fi,r
                                                             ARcare, Inc.

              Dated: 6/3/2022
                                                             Sean Flanagan, VP, Legal,/or Cynosure, Inc.




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Dated:   _ 0_,J_. ]. . ...,__/'_)...1_
                                   _ __
                                          Phillip A. Bock
                                          BOCK, HATCH, ~ & OPPENHEIM, LLC
                                          134 N LaSalle St., Suite I 000



                                          gandal1K.Pu1liam
                                                                  et~
                                          CARNEY BATES & PULLIAM, PLLC
                                          519 West 7th Street
                                          Little Rock, AR 72201
                                          Class Counsel

Dated:
         - - - - - -- - - - -             Alan E. Schoenfeld
                                          WILMER CUTLER PICKERING HALE AND DORR LLP
                                          7 World Trade Center
                                          250 Greenwich Street
                                          New York, NY 10007
                                          Counsel for Cynosure, Inc.




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                       Case 1:16-cv-11547-DPW Document 86 Filed 06/03/22 Page 24 of 25




              Dated:
                                                             Phillip A. Bock
                                                             BOCK, HATCH, LEWIS & OPPENHEfM , LLC
                                                             134 N LaSalle St., Suite 1000
                                                             Chicago, IL 60602
                                                             Class Counsel

              Dated:
                                                             Randall K. Pulliam
                                                             CARNEY, BATES & PULLIAM, PLLC
                                                             51 9 West 7th Street
                                                             Little Rock, AR 72201
                                                             Class Counsel

              Dated:
                        6/3/2022                               fb,.,.,   JZ,.,,..,,fli.
                                                             Alan E. Schoenfeld
                                                             vVILMER CUTLER PICKERING HALE AND DORR LLP
                                                             7 World Trade Center
                                                             250 Greenwich Street
                                                             New York, NY 10007
                                                             Counsel for Cynosure, Inc.




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                                CERTIFICATE OF SERVICE

       I am an attorney of record in this case. I hereby certify that on June 3, 2022, I caused a

copy of the foregoing to be filed via the Court’s ECF filing system, whereupon all counsel of

record were served.

                                                              /s/ Phillip A. Bock
                                                              Attorney for Plaintiff




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